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June 1, 2018
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Honorable Charles J. Siragusa
United States District Court Judge
Western District of New York
1360 U.S. Courthouse

100 State Street

Rochester, NY 14614

Re: Cayuga /ndian Nat/`on of New York v. Seneca County, New York
Case No. 6.'11-cv-06004-CJS

Dear Judge Siragusa:

This office represents Defendant Seneca County, New York in the above referenced
matter, and l submit this letter to advise the Court of the Supreme Court’s recent
decision in Upper Skagit lndian Tribe v. Lundgren. A copy of the Supreme Court’s l\/lay
21, 2018 decision is enclosed herewith, Which is relevant to the cross-motions for
summary judgment currently pending before the Court.

The Supreme Court clarified that its prior decision in County of Yakima v. Confederated
Tribes and Bands of Yakima Nation, 502 U.S. 251 (1992), Which served as the basis for
the Washington Supreme Court’s decision that Was on appeal, does not address the
application of tribal sovereign immunity to an in rem proceeding involving land owned by
an indian tribe. See Upper Skagit /ndian Tribe v. Lundgren, Case No. 17-387, slip op.
at 3. The appellees had abandoned reliance on Yakima and instead sought affirmance
of the Washington Supreme Court’s judgment on the “entirely distinct alternative
ground” of the immovable property exception to sovereign immunity, i.e. arguing that
tribal sovereign immunity did not bar the in rem proceeding at issue because the suit
related to immovable property located in the State of Washington that the tribe
purchased as a private individua|. ld. at 5. But because this alternative ground for
affirmance only emerged late in the case, the Court declined to consider it and instead
remanded the case to the Washington Supreme Court to address the argument in the
first instance ld. at6.

Justices Robeits and Kennedy concurred With the majority’s decision remanding the
case, and further noted that it is a settled rule of international law and the sovereign
immunity of States that a foreign or State sovereign owning property outside of its
sovereign territory is to be treated just like a private individual. ld., slip op. at 2

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(Roberts, J., concurring). The concurring opinion suggests that even if the immovable
property exception did not apply to indian tribes, there would still be a question, under
the Supreme Court’s M/'chigan v. Bay Mil/s indian Commun/`ty decision, as to whether
sovereign immunity applies where a plaintiff chose not to deal with the tribe and has no
alternative means to obtain relief ld. at 3.

Justices Thomas and Alito dissented, stating that the Court should have addressed the
application of the immovable property exception to tribal sovereigns, as the issue “was
extensively briefed and argued,” rather than remanding the case. ld., slip op. at 1-2
(Thomas, J., dissenting). The dissent thoroughly explains the “settled, longstanding”
immovable property exception, which “has been hornbook law almost as long as there
have been hornbooks." ld. at 1, 3-9. lt further states that the exception applies equally
to indian tribes because they possess “‘the common law immunity from suit traditionally
enjoyed by sovereign powers,”’ id. at 10 (quoting Santa Clara Pueb/o \/. Martinez, 436
U.S. 49, 58 (1978)), and the Supreme Court has recently “deciined an invitation to make
tribal immunity ‘broader than the protection offered by state or federal sovereign
immunity,’” id. at 10 (quoting Lewis v. Clarke, 137 S. Ct. 1285, 1293 (2017)).

Relying on the immovable property exception, Seneca County has argued before this
Court that tribal sovereign immunity does not extend to the in rem tax foreclosure
proceedings at issue here given that they involve land owned by the Cayuga indian
Nation like any private individual within the State’s sovereign territory. While the
Supreme Court declined to address this issue in U,oper Skagit indian Tribe (at least at
this time) given the procedural context in which that argument arose, the decision
nonetheless demonstrates that the question of whether this well-recognized exception
to sovereign immunity applies to a dispute concerning land owned by an indian tribe
within a State’s sovereign territory has not previously been addressed by the Supreme
Court. Nor has the immoveable property exception been specially addressed by this
Court or the Second Circuit. i\/loreover, the precedent cited in the majority, concurring,
and dissenting opinions demonstrates that the immovable property exception does and
should apply to disputes involving land owned by an indian tribe within a State’s
sovereign territory.

Thank you in advance for Your consideration.

Respectfully submitted,

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Enclosure

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cc: Aii Counsei of Record (via Cl\/l/ECF email notification)

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